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                                                                                                                                      COLORADO



                                                                            Table 10

                             SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE
                                             BY TYPE OF CRIME
                                               Fiscal Year 2018
                                                                               National
                                                 WITHIN
                                                GUIDELINE                                         DEPARTURE
                                                  RANGE                UPWARD                §5K1.1       §5K3.1                   DOWNWARD            VARIANCE
TYPE OF CRIME                      TOTAL              N       %            N       %           N       %            N       %            N       %           N      %
TOTAL                                68,902      35,127     51.0         396      0.6       6,948    10.1       6,259      9.1       2,972      4.3    17,200      25.0
Child Pornography                     1,416         404     28.5           9      0.6          27      1.9           0     0.0          88      6.2      888       62.7
Drug Trafficking                     18,730       6,786     36.2          68      0.4       4,015    21.4       1,332      7.1         932      5.0     5,597      29.9
Firearms                              7,496       4,178     55.7          65      0.9         511      6.8           3     0.0         317      4.2     2,422      32.3
Fraud/Theft/Embezzlement              6,528       3,069     47.0          30      0.5         911    14.0            4     0.1         241      3.7     2,273      34.8
Immigration                          23,750      15,458     65.1         120      0.5         177      0.7      4,900     20.6         779      3.3     2,316       9.8
Money Laundering                      1,296         325     25.1           2      0.2         381    29.4            2     0.2          87      6.7      499       38.5
Robbery                               1,720         662     38.5          26      1.5         264    15.3            3     0.2         124      7.2      641       37.3
Sexual Abuse                          1,067         429     40.2           3      0.3          81      7.6           1     0.1          76      7.1      477       44.7
Other Miscellaneous Offenses          6,899       3,816     55.3          73      1.1         581      8.4         14      0.2         328      4.8     2,087      30.3



                                                                            Colorado

                                                 WITHIN
                                                GUIDELINE                                         DEPARTURE
                                                  RANGE                UPWARD                §5K1.1       §5K3.1                   DOWNWARD            VARIANCE
TYPE OF CRIME                      TOTAL              N       %            N       %           N       %            N       %            N       %           N      %
TOTAL                                   518         215     41.5           1      0.2          89    17.2           58    11.2          18      3.5      137       26.4
Child Pornography                        14            8    57.1           0      0.0           1      7.1           0     0.0           0      0.0           5    35.7
Drug Trafficking                        142          40     28.2           1      0.7          58    40.8            0     0.0           3      2.1          40    28.2
Firearms                                111          63     56.8           0      0.0          11      9.9           0     0.0            2     1.8          35    31.5
Fraud/Theft/Embezzlement                 42          22     52.4           0      0.0           7    16.7            0     0.0            2     4.8          11    26.2
Immigration                             122          39     32.0           0      0.0           1      0.8          58    47.5            6     4.9          18    14.8
Money Laundering                         15            7    46.7           0      0.0           5    33.3            0     0.0            0     0.0           3    20.0
Robbery                                  13            8    61.5           0      0.0           0      0.0           0     0.0            1     7.7           4    30.8
Sexual Abuse                              3            2    66.7           0      0.0           0      0.0           0     0.0            1    33.3           0     0.0
Other Miscellaneous Offenses             56          26     46.4           0      0.0           6    10.7            0     0.0           3      5.4          21    37.5

Of the 69,425 National cases, 523 were excluded because information was missing from the submitted documents that prevented the comparison of the sentence
and the guideline range.

Of the 525 cases from the District of Colorado, seven cases were excluded because information was missing from the from the submitted documents that
prevented the comparison of the sentence and the guideline range.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




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